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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                         Case No: 3:00cr45/RV
                                                 3:06cv37/RV/MD
KEVIN MICHAEL KELLY
_____________________________________________________________________
                                    ORDER
       This cause comes on for consideration upon the magistrate judge's report and
recommendation dated January 30, 2006. The defendant previously has been
furnished a copy of the report and recommendation and has been afforded an
opportunity to file objections pursuant to Title 28, United States Code, Section
636(b)(1), and I have made a de novo determination of those portions to which an
objection has been made.
       Having considered the report and recommendation and all objections thereto
timely filed by the parties, I have determined that the report and recommendation
should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
       2.    The motion to vacate, set aside or correct sentence pursuant to 28
U.S.C. § 2255 (doc. 641) is summarily DISMISSED as untimely.


       DONE AND ORDERED this 1st day of March, 2006.




                                      /s/ Roger Vinson
                                      ROGER VINSON
                                      SENIOR UNITED STATES DISTRICT JUDGE
